                                   Case 18-25361              Doc 9    Filed 11/21/18           Page 1 of 2

Information to identify the case:
Debtor 1              Thomas T Benson                                                    Social Security number or ITIN   xxx−xx−9475
                      First Name   Middle Name    Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2              Mary Jean Benson                                                   Social Security number or ITIN   xxx−xx−7938
(Spouse, if filing)
                      First Name   Middle Name    Last Name                              EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Maryland
                                                                                         Date case filed for chapter 7 11/21/18
Case number:          18−25361 TJC          Chapter: 7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                         12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
case. Visit http://www.mdb.uscourts.gov and click on Filing Without An Attorney for additional resources and
information.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Thomas T Benson                                      Mary Jean Benson

2.      All other names used in the
        last 8 years

3.     Address                               42 Anchor Way                                            42 Anchor Way
                                             Berlin, MD 21811                                         Berlin, MD 21811

4.    Debtor's attorney                     Melvin J. Caldwell Jr                                  Contact phone 410−543−2240
      Name and address                      Caldwell & Whitehead, P.A.                             Email:
                                            109 Camden Street                                      mcaldwell@caldwellandwhitehead.com
                                            Post Office Box 4520
                                            Salisbury, MD 21803−4520

5.     Bankruptcy trustee                    George W. Liebmann                                       Contact phone (410) 752−5887
       Name and address                      Liebmann & Shively, P.A.                                 Email: None
                                             8 W Hamilton Street
                                             Baltimore, MD 21201
                                                                                                       For more information, see page 2 >
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                                  Case 18-25361                Doc 9         Filed 11/21/18              Page 2 of 2
Debtor Thomas T Benson and Mary Jean Benson                                                                                     Case number 18−25361
6. Bankruptcy clerk's office              Baltimore Division                                                      Visit http://www.mdb.uscourts.gov
                                          101 West Lombard Street, Ste. 8530                                      for court hours
   Documents in this case may be          Baltimore, MD 21201
   filed at this address. You may                                                                                 Contact phone (410) 962−2688
   inspect all records filed in this case Clerk of the Bankruptcy Court:
   at this office or online at            Mark A. Neal                                                            Date: 11/21/18
   www.pacer.gov.

7. Meeting of creditors                                                                                           Location:
                                         January 17, 2019 at 09:30 AM                                             Post Office Building, 129 East Main
    Debtors must attend the meeting to
    be questioned under oath. In a joint The meeting may be continued or adjourned to a later date.               Street, Room 104, Salisbury, MD 21801
    case, both spouses must attend.      If so, the date will be on the court docket.
    Creditors may attend, but are not
    required to do so.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                     Filing deadline: 3/18/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as exempt.      conclusion of the meeting of creditors
                                                 If you believe that the law does not authorize an exemption
                                                 claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If it
                                                 later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                 that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.


13. Debtor electronic bankruptcy                 The U.S. Bankruptcy Court for the District of Maryland offers debtors the ability to receive court notices
    noticing                                     and orders via email, instead of U.S. mail, through the Debtor Electronic Bankruptcy Noticingor DeBN
                                                 program. To participate in this program, debtors must complete and file a DeBN request form with the
                                                 Court. For additional information, please go to Programs & Services of http://www.mdb.uscourts.gov.


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